Case 2:04-cV-02337-.]DB-STA Document 26 Filed 05/05/05 Page 1 of 2 Pag§|D 33

   

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IN THE UNITED sTArEs DISTRICT CouRT t

FoR THE WESTERN DISTRICT oF TENNESSEE 95 rtt. - ’§ th 6= 56
WESTERN DIvlsloN

 

 

CRAIG WILLIAMS,
Plaintiff, No. 04-23 3 7-BAN

VS.

QUALITY CARRIERS, INC.; MERE‘S
TRUCKING; and WILLIAM D. CUTRIGHT,

Defenclants.

 

ORDER SUBSTITUTING COUNSEL

 

It appearing to the Court from the written Motion of the Defendants for Substitution of
Counsel and the entire record in this cause that George T. Lewis, III, Chad D. Graddy, Elizabeth
Low and the firm of Baker, Donelson, Bearman, Caldwell & Berkowitz should be allowed to
withdraw as counsel of record for the Defendants; it further appearing that Carl Wyatt and the
firm of Glassrnan, Edwards, Wade & Wyatt, 26 North Second Street Building, l\/Iemphis,

Tennessee 30103, phone 901-52]-4673, fax 901-521-0940 should be substituted as counsel of

dba

nite States District Court Jud¥\

Date: m¢,,`__` `flloo~f
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record for Defendants.

lT lS SO ORDERED.

Th' s document entered on the docket;heet In comptiance
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/J./
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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02337 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listcd.

 

 

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Honorable J. Breen
US DISTRICT COURT

